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                        THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


                                                  )
 CITIZENS UNITED                                  )
                                                  )
        Plaintiff,                                )
                                                  )
                v.                                ) Civil Action No. 1:19-cv-3466-APM
                                                  )
 U.S. DEPARTMENT OF STATE                         )
                                                  )
        Defendant.                                )
                                                  )

                                  JOINT STATUS REPORT


       Pursuant to the Court’s July 17, 2020, Minute Order, Plaintiff Citizens United and

Defendant Department of State (“State”) respectfully submit this Joint Status Report to update

the Court on review and processing of unclassified and classified responsive records to the

Plaintiff’s Freedom of Information Act (“FOIA”) request.

       Unclassified Records.     As of May 6, 2020, State has completed processing and

production of the unclassified records potentially responsive to Plaintiff’s FOIA request.

       Classified Records. On April 20, 2020, the Office of Personnel Management directed

that plans for ramping back up Federal Government operations will follow the national

guidelines for Opening Up America Again. See Memorandum from Russell T. Vought, Acting

Director, Office of Management and Budget and Michael J. Rigas, Acting Director, Office of

Personnel      Management        (Apr.      20,     2020),      https://www.whitehouse.gov/wp-

content/uploads/2020/04/M-20-23.pdf.      Those guidelines include a phased approach for the

resumption of normal activities, which can begin only after certain epidemiological “gating

criteria” are met on a location-by-location basis. See id. at 1-2. Consistent with this guidance,
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State is developing a phased approach for resumption of operations. State’s Washington, D.C.,

offices entered the second phase as of July 27, 2020. Even during phase two, however, offices

continue to maximize telework.      Accordingly, due to ongoing precautions taken to reduce

likelihood of transmission or community spread of COVID-19 within the workplace, State

expects that FOIA processing capabilities will continue to remain severely constrained after

entry into this phase. State is directing its very limited onsite resources to maximize the impact

across its FOIA caseload. But because of ongoing uncertainties, State is unable to provide an

estimate at this time as to when it will be able to resume processing of the classified records

potentially responsive to Plaintiff’s FOIA request.

        Dated: September 15, 2020               Respectfully submitted,

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